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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

   PAR PHARMACEUTICAL, INC.,              )
   PAR STERILE PRODUCTS, LLC, and         )
   ENDO PAR INNOVATION                    )
   COMPANY, LLC,                          )
                                          )   C.A. No. 18-823-CFC-JLH
                    Plaintiffs,           )
                                          )   PUBLIC VERSION
          v.                              )
                                          )
   EAGLE PHARMACEUTICALS INC.,            )
                                          )
                    Defendant.            )
                                          )

               LETTER TO THE HONORABLE COLM F. CONNOLLY
                          FROM DAVID E. MOORE

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   Dated: December 9, 2021
   Public Version: December 10, 2021
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            December 9, 2021 (Public Version Dated: December 10, 2021)

   VIA ELECTRONIC FILING                                         PUBLIC VERSION
   The Honorable Colm F. Connolly
   United States District Judge
   J. Caleb Boggs Federal Building
   844 N. King Street
   Wilmington, DE 19801-3555

        Re:    Par Pharm., Inc. v. Eagle Pharm., Inc., C.A. No. 18-823-CFC-JLH

  Dear Chief Judge Connolly:

         We write to inform the Court of time-sensitive motion practice that may begin
  shortly.

        As the Court may recall, the deadline for the FDA to respond to Eagle’s
  ANDA is December 15, 2021. While there can be no guarantee, Eagle does expect
  the FDA to approve its ANDA, and has publicly indicated it plans to launch
  reasonably soon after approval.

         Par had previously indicated to the Court and Eagle that it would pursue
  injunctive relief to prevent Eagle from launching. Eagle expected that Par would
  have already made such a filing, and contacted Par on December 2, 2021 to see if
  Par planned to do so, and if so, discuss a schedule to try to do so in as prompt and
  orderly a fashion as possible. Par confirmed that it plans to seek to enjoin Eagle’s
  launch. Although the parties are continuing to discuss the process, Eagle believes
  that Par should make any filings as soon as possible so the process can begin, and in
  the meantime, felt it prudent to alert the Court to this possibility now to mitigate an
  already complex scheduling scenario next week.

        We are available to discuss these matters at the Court’s convenience.

                                                Respectfully,

                                                /s/ David E. Moore

                                                David E. Moore
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  cc:   Clerk of the Court (via hand delivery)
        Counsel of Record (via electronic mail)
